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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                            4:15-CR-3010
     vs.
                                                         ORDER
MARISELA PESCADOR,
                Defendant.


     IT IS ORDERED that:

     1.    The Government's unopposed Motion to Continue Sentencing
           (filing 142) is granted.

     2.    Defendant Marisela Pescador's sentencing is continued to
           September 2, 2016, at 10:00 a.m., before the undersigned United
           States District Judge, in Courtroom No. 1, Robert V. Denney
           United States Courthouse and Federal Building, 100 Centennial
           Mall North, Lincoln, Nebraska. The defendant shall be present at
           the hearing.

     Dated this 19th day of July, 2016.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
